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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:12-cr-0004-APG-GWF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   ALEKSANDAR BESAROVIC,                     )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          The Court conducted a status hearing on March 17, 2016 regarding the Motion to Withdraw
14   as Attorney of Record on behalf of Kathleen Bliss (#1138). The Court deemed the motion
15   withdrawn in the motion hearing on February 1, 2016 and the parties were to meet and confer
16   regarding the issues addressed in court. At the status hearing on March 17, 2015, Government’s
17   counsel advised the Court that Ms. Bliss does have a conflict in this case. Defendant’s co-counsel,
18   Paul Padda, renewed the Motion to Withdraw on behalf of Mr. Bliss. Accordingly,
19          IT IS HEREBY ORDERED that the Motion to Withdraw as Attorney of Record (#1138) is
20   granted and Kathleen Bliss is relieved as counsel for Defendant Aleksandar Besarovic.
21          DATED this 17th day of March, 2016.
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23                                                ______________________________________
                                                  GEORGE FOLEY, JR.
24                                                United States Magistrate Judge
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